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 6 ESSENTIAL CONSULTANTS, LLC
 7
 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11 STEPHANIE CLIFFORD a.k.a.                   Case No.
     STORMY DANIELS a.k.a. PEGGY
12
     PETERSON, an individual,                  ESSENTIAL CONSULTANTS,
13                                             LLC’S CORPORATE
                  Plaintiff,                   DISCLOSURE STATEMENT
14
15          v.                                 (FED. R. CIV. P. 7.1)

16
   DONALD J. TRUMP a.k.a. DAVID                Action Filed: March 6, 2018
17 DENNISON, an individual,
18 ESSENTIAL CONSULTANTS, LLC, a
   Delaware Limited Liability Company,
19 and DOES 1 through 10, inclusive,
20
                   Defendants.
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           ESSENTIAL CONSULTANT, LLC’S CORPORATE DISCLOSURE STATEMENT
     Case 2:18-cv-02217 Document 4 Filed 03/16/18 Page 2 of 2 Page ID #:59



 1         Defendant Essential Consultants, LLC (“EC”) hereby provides the following
 2 Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1.
 3         1.    EC is not a publicly-held corporation or other publicly-held entity.
 4         2.    There is no parent corporation of EC.
 5         3.    No publicly held corporation owns ten percent or more of the stock of
 6 EC.
 7
 8 Dated: March 16, 2018                 BLAKELY LAW GROUP
 9
10                                       By: /s/ Brent H. Blakely
                                            BRENT H. BLAKELY
11                                          Attorneys for Defendant and Petitioner
12                                          EXECUTIVE CONSULTANTS, LLC
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           ESSENTIAL CONSULTANT, LLC’S CORPORATE DISCLOSURE STATEMENT
